Case 19-34054-sgj11    Doc 4266-36 Filed 06/23/25 Entered 06/23/25 11:49:42   Desc
                      List of 20 Largest Creditors 36 Page 1 of 2
Case 19-34054-sgj11              Doc 4266-36 Filed 06/23/25 Entered 06/23/25 11:49:42                                        Desc
                                List of 20 Largest Creditors 36 Page 2 of 2




 From: Montgomery, Paige <pmontgomery@sidley.com>
 Sent: Tuesday, August 31, 2021 9:13 AM
 To: Patrick Daugherty <pdaugherty@glacierlakecap.com>
 Cc: Clemente, Matthew A. <mclemente@sidley.com>; Rognes, Chandler <crognes@sidley.com>
 Subject: RE: Highland Regroup call

 Pat,

 Just moving this up in the inbox. Would Thursday work for you?

 Best,

 Paige

         _____________________________________________
         From: Montgomery, Paige
         Sent: Thursday, August 26, 2021 2:22 PM
         To: 'pdaugherty@glacierlakecap.com' <pdaugherty@glacierlakecap.com>
         Cc: Clemente, Matthew A. <mclemente@sidley.com>; Rognes, Chandler <crognes@sidley.com>
         Subject: Highland Regroup call



         Pat,

         Would you be available to speak to me, Quinn, and some folks from Teneo (Marc Kirschner’s firm) next week on 9/2?
         Please let us know if you could do either 9:30 CT or 12:30 CT that day, or if some other time would be better.

         Best,

         Paige



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 If you are not the intended recipient, please delete the e-mail and any attachments and notify us
 immediately.

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